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          From:              <     @kinginjuryfirm.com>
             To: Vanessa Motta <vanessa@mottalaw.com>
        Subject: Re: Louis Fey
           Date: Fri, 22 Oct 2021 22:05:08 +0000
   Attachments: Transcript_from_1-25-19_proceedings_(10463305xA8A8F).pdf; FeyLouis010719Mini.pdf;
                 236_-_Trial_Testimony_of_Louis_Fey.pdf; LouisFey_fey_-_Transcript.pdf
  Inline-Images: AIOTL-lit-year_2021.png; AIOLA_2021_Elite_Advocate_Badge.png


here's what I have on Fey, attached. A court hearing and three transcripts.

On Fri, Oct 22, 2021 at 4:46 PM Vanessa Motta <vanessa@mottalaw.com> wrote:
        ,

   Hi there. Hope all is well. I was wondering if you would be so kind and send me the deposition transcript on
  Mr. Fey? I have a trial coming up November 15th and I need to file additional MIL but be creative as she
  doesn’t want to hear the same argument as before. The judge made a ruling that not only is inconsistent as to
  whom she is and her opinions, but the defense is clearly doing a back door entrance to fraud when they were
  denied fraud by changing it to “staged”. However, because the judge is allowing them to say there is an
  affirmative defense to intentional/staging, that is why didn’t exclude him and staging is not the same as fraud
  which is absolute BS.
  Anyways, if you can call me on my cell, when you have a moment, today, If possible, I would really really
  appreciate it.

  Vanessa Motta
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  Motta Law, LLC
  3632 Canal Street
  New Orleans, LA 70119
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    null
                                                                                                    GOVERNMENT
                                                                                                      EXHIBIT
   On May 20, 2021, at 1:43 PM,                        @kinginjuryfirm.com> wrote:
                                                                                                          M


   last thing-- here is a collection I have of citations on experts talking about fraud, and Daubert issues.



                                                                                                       US-072-00919479
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There's no such thing as a "fraud expert." US v. Long Grove Manor, Inc., 315 F. Supp. 3d 1107 - Dist. Court,
ND Illinois 2018. The court continues:
   "Fraud requires an inference about a defendant's mental state, and it is counsel's job — not an expert
   witness's — to establish a link, through argument between the evidence and the defendant's intent. See
   In re Rezulin Products Liability Litigation, 309 F.Supp.2d 531, 545 (S.D.N.Y. 2004). In this case, relator is
   entitled to present evidence, through Dr. Baer, of CMS's claims review process and the criteria that
   must be met to establish medical necessity. And while I decline, at this point, to exclude categorically
   Dr. Bear's testimony about the kinds of fraudulent schemes he and his colleagues uncovered in the
   course of their professional duties, he may not testify to his abstract judgment that defendants' conduct
   fits the bill. More specific determinations about the scope of Dr. Baer's proposed testimony are
   unnecessary at this juncture."



Wayne Winkler prohibited from testifying about other accidents fitting a "pattern" or talking about "fraud
indicators" as a result- Judge Zainey said he couldn't talk about other accidents that didn't involve one of
the plaintiffs- Terry Baham v. Lovorn & Lovorn Trucking, USDC-EDLA 2:18-cv-08881, Doc. 76 (ruling
on Ms in limine), Doc. 93 (ruling on motion to strike- statistics on sideswipes, and NICB fraud indicators)


   Related: in CDC, Judge Reese ordered that Ds could not present argument that Ps purposely rammed
   the D vehicle, as there is no witness to testify to that effect. Kawana Lloyd v. Wal-Mart Inc, 2018-3237,
   judgment of November 13, 2020.
   This ruling did not involve experts, but check docket, as Ds are likely to retain an expert and Daubert
   motions are expected.



US EX REL. DAVIS v. US TRAINING CENTER INCORPORATED, Court of Appeals, 4th Circuit 2012
We also observe that Relators did not cite any cases to the district court supporting their position that an
accounting expert may label certain findings "fraud indicators." On appeal, however, Relators cite United
States v. Bollin, 264 F.3d 391 (4th Cir. 2001), in support of their argument. We stated in Bollin, in the course
of holding that the evidence supported the defendant's conviction, that "[t]he Government's expert
testified that there were numerous indicators of fraud" in the documents he reviewed. Id. at 407. Our
decision in Bollin did not, however, involve a challenge to the admissibility of testimony concerning "fraud
indicators." Accordingly, Relators' reliance on Bollin for the proposition that "[t]his Circuit routinely allows
qualified experts to testify about fraud indicators" is misleading and unavailing.


See also City of Tuscaloosa v. Harcros Chemicals, Inc.,158 F.3d 548, 565 (11th Cir.1998) (finding
an expert witness' "characterizations of documentary evidence as reflective of collusion, and his
characterizations of particular bids as `signals,'" not appropriate for expert testimony).




                                                                                                   US-072-00919480
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Profile testimony


Compare to "gang expert" testimony-- People v. Marcos Arturo Sanchez (2016) 63 Cal.4th 665,
limits the ability to use "gang experts" to relating case-specific facts about which the expert has no
independent knowledge. “When an expert relates to the jury case-specific out-of-court statements,
and treats the content of those statements as true and accurate to support the expert’s opinion, the
statements are hearsay. It cannot logically be maintained that the statements are not being
admitted for their truth. If the case is one in which a prosecution expert seeks to relate testimonial
hearsay, there is a confrontation clause violation unless (1) there is a showing of unavailability and
(2) the defendant had a prior opportunity for cross-examination or forfeited that right by
wrongdoing."


Gang, criminal organization testimony- see, US v. Portillo (CA5 2020)- approves experts who use
investigative training to testify about organized criminal enterprises (bike gang in this case).


MOTION IN LIMINE #5
             TO PROHIBIT IMPROPER “PROFILE” TESTIMONY AND ARGUMENT


The plaintiffs allege they were hurt in an accident. The defendants have reconvened, claiming the
accident was staged or deliberately caused by the plaintiffs, and are suing them for fraud.
We expect argument from counsel to that effect; in addition, defendants retained a so-called “fraud
expert,” and may ask other witnesses about various operations of a “fraud conspiracy.”
We ask the Court, however, to prohibit any evidence or argument on the subject of linking such
hypothetical activities, to the specific alleged actions of the plaintiffs in this case. Such evidence
and argument is deemed inadmissible “profiling” evidence which invades the province of the jury.
As an example, this issue often comes up in federal cases involving drug trafficking organizations.
The courts, applying the Federal Rules of Evidence, have held that an expert may in some
circumstances be allowed to explain the mechanics of such an organization, but cannot also
purport to tell the jury where the accused individual’s activities fit within such a scheme.
The ultimate responsibility of linking a party’s conduct with the typical characteristics of drug
trafficking must be left to the jurors. If the profile testimony itself makes that connection, then it
crosses into the forbidden territory in which testimony with the “expert” imprimatur is allowed to
opine on the ultimate issue of guilt which is for the “trier of fact alone.” United States v. Medeles-
Cab, 754 F.3d 316, 321 (5th Cir. 2014); United States v. Gonzalez-Rodriguez, 621 F.3d 354, 364
(5th Cir. 2010); United States v. Sosa, __ F.3d. __ (No. 17-40460) (5th Circuit 2018).
In this case, the motion is especially well-founded, since even the defendants’ alleged expert, Louis
Fey, does not claim to be able to offer an opinion about whether any individual plaintiff committed
“fraud” or not, for the good reason that neither he nor anyone else set to testify in this case has the




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ability or knowledge to testify to such an allegation. It is, by common agreement, a conclusion the
jury must reach.
So to allow any defense witness to evade this limitation, by the mere artifice of saying “Plaintiff A’s
actions are consistent with the actions of a fraud conspirator” is just another way of the defendants
doing what they know they cannot do, and calling it by another name.
Such an attempt at evidence or argument along this line is beyond the scope of permissible
evidence, an invasion of the jury’s function of determining the ultimate conclusions, and also highly
prejudicial and likely to create confusion, and thus should also be barred under Code of Evidence
article 403.

On Thu, May 20, 2021 at 1:17 PM Vanessa Motta <vanessa@mottalaw.com> wrote:
      ,

  Yes, I used this exact argument, and you are going to laugh. The judge stated he was limited and will not
  be able to say anything of fraud, BUT he can discuss what was an indicator to “staging”. Now here is the
  million dollar question, what is the difference between staging and fraud?? No one seems to want to
  answer this question in court and when I state its the same thing when I try to file my 12b6 motion, it is
  denied because “staging” is the same as ”fraud.” If you have a reason, please let me know. LOL.

  Louis Fey was limited immensely in my case and he is not to testify unless Defense can prove the accident
  was staged. My trial is in July. I will keep you posted.

  Thank you for sharing this.


  Vanessa Motta
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On May 20, 2021, at 1:01 PM,                       @kinginjuryfirm.com> wrote:

as discussed- look carefully at what he claims in his CV.
in the past, he has misrepresented his history as an expert:


   A.
        Contrary

        to His Claim, Louis G. Fey, Jr. Has Never Been Accepted As An “Expert” on “Red Flags” or

        “Fraud Indicators”


Mr.

Fey’s CV claims that he testified as an expert in federal court on topics including “red

flags, fraud indicators involved in the handling of 3rd party liability

and UM/UIM claims.” Specifically, Mr. Fey represents the following:
         Antoine
         M. Saacks, Jr. & Kim Saacks, Plaintiffs Versus Privilege Underwriters
         Reciprocal
         Exchange, Defendant. United States District Court Eastern District Of



                                                                                           US-072-00919484
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     Louisiana,
      Civil Action No. 16-01149. Defense expert on bad faith, industry
     standards,
     red flags, fraud indicators involved in the handling
      of 3rd party liability and UM/UIM claims. (Trial testimony 2-6-17)

Exhibit 1,

Fey CV, page 13. (Emphasis added.)

         That

is not true. Defendants are attempting to stretch his prior testimony in the Saacks

case to fit their needs in this case. The court record in the Saacks

case shows that the case was a first-party UM bad faith case, not

a third party liability case. It is correct that Mr. Fey was offered

as an expert by the defense - but only with regard to claims handling in UM claims in defense of a

plaintiff’s bad-faith claim against the UM insurer. To be clear, Mr. Fey was offered to defendant against

allegations of bad faith on behalf of the insurer;

he was not offered and did not testify as an expert as to “red flags and/or fraud indicators” when it comes

to the sort of fraud alleged by defendants

against plaintiffs

in this case.

         He

did not hold himself out as a “fraud” expert of any kind. He was not offered as an expert in “red flags” or

“fraud indicators.” Further, the

Saacks

litigation appears to have had nothing to do with “3rd party liability” claims, as it was UM claim only.

Mr. Fey’s report in that case defined the scope of his alleged expertise:
         I
          will act as an expert witness with regard to the insurance industry standards,
         customs,
          and practice involved in handling underinsured motorist claims in the state of



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     Louisiana.
      Specifically, Privilege Underwriters Reciprocal Exchange (herein after referred to as “PURE”)
     has retained me to evaluate its handling of the underlying Underinsured Motorist (UIM) claim
     made by Mr. and Mrs. Antoine Saacks, and to compare that handling to
      the universally accepted insurance industry standards that apply to such matters.

Exhibit 2,

Expert Report of Louis Fey, Jr. in Saacks v.

Pure.

When

the plaintiffs in the Saacks

case sought to exclude Mr. Fey on Daubert

grounds in federal court, the defendants in that case made clear the very limited purpose for his

testimony:
        PURE
         intends to offer the opinion testimony of its expert, Mr. Louis G. Fey, Jr., on the limited issue of
         whether PURE’s handling of Plaintiffs’ uninsured motorist (“UM”) claim meets insurance
        industry standards.
         PURE submits that the expert opinion testimony of Mr. Fey will assist the jury in determining if
        PURE’s handling of Plaintiffs’ UM claim complied with industry standards for UM claims or was
        in bad faith. As will be shown, Plaintiffs’ motion in limine to exclude
         Mr. Fey as an expert witness should be denied, with Mr. Fey only
         being allowed to present his limited opinion on UM claims handling in the insurance
        industry and by PURE in this case.

Exhibit 3,

Defense memorandum in Saacks v. Pure,

page 1 (emphasis added).

The

defense also made clear that their only purpose for Fey’s testimony, was describing technical matters

involving UM claims:
                Defendant’s expert, Mr. Fey, offers opinion testimony to assist the jury
         on several
        technical
         matters unknown to the average juror:




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           The general nature of the claims
           handling process used to handle a UM claim like the Saacks made;


                The applicable industry standards
                that define the proper way to handle a UM liability claim;


                The nature of a UM claim and why
                 it is more complicated than a typical homeowner’s claim or other auto liability claim to
                adjust, e.g., PURE “stands in the shoes” of the liability insurer for the other driver; and


                Whether the claims handling by PURE
                complied with industry standards for proper UM claims handling.


          With
           Mr. Fey’s opinion testimony, the jurors will have insights into and be able to understand the
          technical process and standards that PURE, like any other insurer, is required to follow to
          properly handle a UM claim. When they are asked to determine if PURE was
           in bad faith in this case, the jury will have the “tools” based on Mr. Fey’s testimony to decide
          how PURE’s conduct stacks up with what the rest of the insurance industry considers proper
          claims handling, embodied in industry standards.

                   Defendant
          shall not offer the
           opinion testimony of Mr. Fey on any legal conclusions, including
           whether PURE’s conduct was in good faith, it rose to the level of bad faith, whether PURE acted
          in accordance with its duty of good faith and fair dealing, or whether PURE’s claims handling of
          the Saacks UIM claim was arbitrary and capricious. This limitation
           is in accordance with case law in this Court that has considered the testimony of bad faith
          experts.

Exhibit 3,

Defense memorandum in Saacks v. Pure,

pages 8-9 (emphasis added).

Indeed,

the defense in the Saacks

case went on to acknowledge several instances in which Mr. Fey’s testimony had been

limited

by the courts, and he had been prohibited from testifying to legal conclusions. Instead, his testimony was




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limited to testifying about industry standards only. Exhibit 3, Defense memorandum in

Saacks v. Pure,

pages 10-11.

Mr.

Fey himself submitted a declaration under penalty of perjury in the Saacks

case in connection with the motion to exclude him. He claimed only to be an expert in “insurance

matters” and “claims handling:”




Exhibit 4,

declaration under penalty of perjury of Louis G. Fey, Jr. in Saacks

v. Pure, pages 1-2. He never claimed to be an expert in “red flags”

or “fraud indicators.”

       The

federal court ultimately accepted Mr. Fey as an expert only as to insurance company procedures. Mr.

Fey was unequivocally

not

accepted as an expert as to fraud, “red flags” and/or “fraud indicators.” Critically, he was prohibited from

testifying to legal conclusions:
       while
       Mr. Fey may testify regarding standard
       practices and procedures within the insurance industry, he may
       not testify regarding Plaintiff’s medical condition or
       offer legal conclusions.




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Exhibit 5,

court ruling in Saacks v. Pure,

pages 5-6 (emphasis added).

        The

minute entry of the federal court for the day of Mr. Fey’s testimony confirms the subject on which he

testified:
        Louis
        Fey, Jr. sworn, offered as an expert in the field of insurance industry standards as it applies to
        U.M. standards – accepted and testified

Exhibit 6,

minute entry in Saacks v. Pure.

While

it does appear that there was some reference in Mr. Fey’s report in the Saacks

case to “red flags” and fraud - the UM insurer claimed the accident was not legitimate - it is beyond

question that Mr. Fey was never offered as an “expert” regarding “red flags” or fraud in the case.

We

return to Mr. Fey’s representation in his CV of what he claims to have been an expert witness on in that

case:
               Antoine
                M. Saacks, Jr. & Kim Saacks, Plaintiffs Versus Privilege Underwriters
               Reciprocal
                Exchange, Defendant. United States District Court Eastern District Of
               Louisiana,
                Civil Action No. 16-01149. Defense expert on bad faith, industry
               standards,
               red flags, fraud indicators involved in the handling
                of 3rd party liability and UM/UIM claims. (Trial testimony 2-6-17)

Exhibit 1,

Fey CV, page 13. (Emphasis added.)




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          That

          is not true. He was never offered, nor did he testify, as an “expert” in “ red flags, fraud indicators

          involved in the handling of 3rd party liability and UM/UIM claims.” This is very important in our case,

          because he is apparently seeking to bolster that

          “experience” in an entirely new

          topic for him. He bootstraps into a claim of a new field of “expertise” that as far as we can tell from his

          CV, he has never actually been offered as an expert in:
                 1.
                  I will act as an expert witness with regard to the investigation of auto insurance
                 claims.
                  First Coast Logistics (“FCL”) has retained me to evaluate the underlying claim
                 made
                  by Jessica Francis (“Francis”), and to opine on
                  the various fraud indicators or “red flags” that have become apparent from FCL’s
                 investigation.

          Exhibit 7,

          Fey report in our case.

          --

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     --

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